9/20/22, 7:59 PM                                            Mail - kmotley motleylegal.com - Outlook



       Action Forward
       kmotley motleylegal.com <kmotley@motleylegal.com>
       Mon 4/26/2021 10:39 PM
       To: jmb@guntalaw.com <jmb@guntalaw.com>;Ann Wirth <acw@guntalaw.com>;Kyle Moore
       <krm@guntalaw.com>;milo@ascendcounsel.co <milo@ascendcounsel.co>;Kate Knowlton
       <kate@knowltonlawgroup.com>
         1 attachments (888 KB)
       Open Records #8.pdf;
       Dear Jasmyne,
       Please find attached for your review Open Records #8 that asks for search terms in emails given to
       Wauwatosa Police Department and the records clerk on 10/30/20. Since filing we have not heard
       from them and the search term of at least Alvin Cole is the same as the request for production of
       documents.
       Just as a recitation of the conversation. We agreed to speak again on Friday, April 30 at 1:30p.m.
       We will look over to see what other videos, docs, etc.. that we believe we do not have. You will also
       check to see if there are any other squad, drone, booking, and other videos which have not been
       turned over. As you indicated, Mayor McBride keeps all of his text messages but we, unfortunately,
       have not received any text messages as part of the production. If you can please also send those
       that would be great.
       We will also discuss the Covid emergency search term with you on Friday. Thank you and talk
       soon.
       -- Warm Regards,
       Kim
       Kimberley Cy Motley, Esq.
       C.E.O. / Founding Partner
       Motley Legal Services
       Afghan Mobile : 93 (0) 788 887 887
       International Number : 1 (704) 765 - 4887
       U.A.E. Tel : 971 (0) 561 442 175
       US Mobile : 1 (704) 763-5413
       motleylegal.com
       ____________________________________________________________________________________________________
       This is a transmission from Motley Legal Services and Motley Consulting International and may
       contain information which is privileged, confidential, and protected by the attorney-client or
       attorney work product privileges and is intended solely for the use of the individual(s) to whom it is
       addressed. If you are not the addressee, note that any disclosure, copying, distribution, or use of
       the contents of this message is prohibited. If you have received this transmission in error, please
       telephone or email the sender immediately and delete the original message and any copy of it from
       your computer system. If you have any questions concerning this message, please contact the
       sender.
                   Case 2:20-cv-01660-NJ             Filed 09/21/22          Page 1 of 1               Document 204-1
https://outlook.office.com/mail/id/AAQkAGQyYmU4YzIzLTZmZDQtNDA0ZS04N2I2LTg2NzI5OTJhZjI1YwAQAFq6pju5IQFPvKLHpX1Rvsk%3D   1/1
